 8:12-cr-00033-LSC-TDT           Doc # 90   Filed: 10/16/12     Page 1 of 3 - Page ID # 187




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                     8:12CR33

      vs.
                                                              TENTATIVE FINDINGS
TODD PAUL HAYS,

                    Defendant.


       The Court has received the Revised Presentence Investigation Report (“PSR”),

the government’s objections (Filing No. 85), the Defendant’s objections and motion for

downward departure or variance (Filing No. 87), and the Defendant’s motion for an

evidentiary hearing (Filing No. 88). See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       The plea agreement assumes a drug quantity of 4600 kilograms of marijuana,

converted, and a base offense level of 34. The PSR assigns a quantity of 40,738.8

kilograms and base offense level 38. Both parties object to the drug quantity and base

offense level in the PSR based on the plea agreement, and those objections are

granted. The base offense level is 34, consistent with the plea agreement.

       The Defendant filed a motion for downward departure or variance, apparently

basing his argument in part on his belief that he is entitled to a 4-level role reduction.

The role issue, however, is not specifically raised as an objection. Defense counsel

requests an evidentiary hearing. Insofar as the role issue is raised as an objection, it is
 8:12-cr-00033-LSC-TDT         Doc # 90      Filed: 10/16/12   Page 2 of 3 - Page ID # 188




denied. The motion for an evidentiary hearing is denied. As no Addendum appears in

the PSR, it appears that the Defendant’s objections were not raised before the

Probation Officer. Moreover, the objections and motion for departure/variance were

filed out of time without any request for leave to do so. Finally, defense counsel has not

complied with the requirements of ¶ 6 of the Order on Sentencing Schedule with respect

to any evidence he wishes to offer. The Court will allow oral argument with respect to

the motion for downward departure/variance.

       IT IS ORDERED:

       1.       The government’s objection to ¶ 41 of the PSR (drug quantity; base

offense level) (Filing No. 85) is granted;

       2.       The Defendant’s objection to ¶¶ 34 and 41 of the PSR (drug quantity;

base offense level) (Filing No. 87) is granted;

       3.       The Defendant’s objection to the absence of a role reduction (Filing No.

87) is denied

       4.       The Defendant’s motion for downward departure/variance (Filing No. 87)

will be heard by oral argument at the sentencing hearing;

       5.       The Defendant’s motion for an evidentiary hearing (Filing No. 88) is

denied;

       6.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a

motion challenging these tentative findings, supported by (a) such evidentiary materials

as are required (giving due regard to the requirements of the local rules of practice

respecting the submission of evidentiary materials), (b) a brief as to the law, and (c) if

                                               2
 8:12-cr-00033-LSC-TDT       Doc # 90    Filed: 10/16/12   Page 3 of 3 - Page ID # 189




an evidentiary hearing is requested, a statement describing why an evidentiary hearing

is necessary and an estimated length of time for the hearing;

      7.     Absent submission of the information required by paragraph 6 of this

Order, my tentative findings may become final; and

      8.     Unless otherwise ordered, any motion challenging these tentative findings

will be resolved at sentencing.

      Dated this 16th day of October, 2012.

                                               BY THE COURT:
                                               s/ Laurie Smith Camp
                                               Chief United States District Judge




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